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     5 Attorney for Defendant WAYNE YORK

     6                                    UNITED STATES DISTRICT COURT

     7                                    EASTERN DISTRICT OF CALIFORNIA

     8
         UNITED STATES OF AMERICA,                           Case No. 16-CR-0092 JAM
     9
                         Plaintiff,                          ORDER SEALING DOCUMENTS
    10
                          vs.
    11
         WAYNE YORK,
    12
                         Defendant.
    13

    14
    15            Counsel for Wayne York submitted the "DECLARATION OF CHRISTOPHER J. CANNON IN

    16 SUPPORT OF MOTION TO WITHDRAW AS COUNSEL" and a Notice and Request to Seal that

    17 Declaration. The Court has reviewed the Request to Seal along with the Declaration and finds good

    18 cause to seal the Declaration. Therefore, the "DECLARATION OF CHRISTOPHER J. CANNON IN

    19 SUPPORT OF MOTION TO WITHDRAW AS COUNSEL" shall be permanently sealed.

    20            IT IS SO ORDERED.

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         ORDER SEALING DOCUMENTS
         Case No . 16-CR-0092 JAM
